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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA                              *
                                                      *
vs.                                                   *
                                                      * CRIMINAL No. 10-00012-KD
                                                      *     UNDER SEAL
                                                      *
SAEID KAMYARI.                                        *
                                                      *

                                             ORDER

       A pretrial conference was held on May 17, 2010 before the undersigned Magistrate

Judge. Present at this conference were Greg Hughes Esq., counsel for Defendant, Saeid Kamyari,

and Assistant United States Attorney Greg Bordenkircher. At the conference, counsel for

Defendant filed a Motion for a Continuance. AUSA Bordenkircher advised the court that there

was no objection to Defendant’s motion to continue. Upon consideration of the motion, and

after hearing from counsel on the issue, the Court concludes that the ends of justice served by

continuing this action outweigh the best interests of the public and Defendant in a speedy trial.

18 U.S.C.A. §3161(h)(7)(A). Specifically, the undersigned finds that the request to continue this

action so that Defendant’s counsel can ready this case for trial or other resolution is reasonable.

18 U.S.C. § 3161(h)(7)(B) (iv) (stating that the court may consider whether the failure to grant a

continuance would deny defense counsel “the reasonable time necessary for effective

preparation, taking into account the exercise of due diligence.”)

       However, this continuance is contingent upon the defendant filing a written waiver

of his right to a speedy trial signed by the defendant not later than Friday, May 21, 2010.

Accordingly, provided that the defendant files his waiver of speedy trial rights on or before May

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21, 2010, the motion to continue trial is GRANTED and this case is continued to the July 2010

trial term with jury selection to be held on June 28, 2010.

       The Clerk of the Court is directed to refer this matter to the Magistrate Judge Milling for

scheduling of a pre-trial conference in June 2010.

       DONE this 17th day of May 2010.

                                             /s/ Katherine P. Nelson
                                             KATHERINE P. NELSON
                                             UNITED STATES MAGISTRATE JUDGE




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